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                            UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 Just Funky, LLC,                                   )    Case No. 5:21-cv-01127-SL
                                                    )
           Plaintiff,                               )
                                                    )
 v.                                                 )    Judge: Sara Lioi
                                                    )
 Boom Trendz, LLC, Melissa Carpenter, and           )
 Deepak Tyagi,                                      )    JOINT PROPOSED DISCOVERY
                                                    )    AND BRIEFING SCHEDULE
           Defendants.                              )
                                                    )


          Pursuant to the Court’s Order of June 25, 2021 (ECF 15), Plaintiff Just Funky, LLC and

Defendants Boom Trendz, LLC, Melissa Carpenter, and Deepak Tyagi, by and through counsel,

hereby submit the following joint proposed discovery and briefing schedule in advance of a

preliminary injunction hearing:

         Written discovery shall be completed by July 27, 2021.

         Deposition shall be completed by August 10, 2021.

         Plaintiff’s brief in support of preliminary injunction shall be filed by August 24, 2021.

         Defendants’ briefs in opposition shall be filed by September 7, 2021.

         Plaintiff’s reply brief shall be filed by September 14, 2021.

The parties submit this joint proposed schedule without prejudice to their ability to conduct further

discovery subsequent to the preliminary injunction hearing consistent with the needs of the case

and in accordance with the scheduling order to be set following the case management conference

currently scheduled for August 19, 2021.




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                                           Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify, the foregoing was filed electronically in accordance with the Court’s
Electronic Filing Guidelines on July 2, 2021, which will provide notice to the following:

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